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                         UNITED STATES BANKRUPTCY COURT
                                  District of Delaware

In Re:
Nortel Networks Inc., et al.
2221 Lakeside Boulevard                     Chapter: 11
Richardson, TX 75082
 EIN: 04−2486332

Allen & Overy LLP,
1221 Avenue of the Americas
New York, NY 10020
                                            Case No.: 09−10138−KG



        NOTICE OF FILING OF TRANSCRIPT AND OF DEADLINES RELATED TO RESTRICTION AND
                                         REDACTION

    A transcript of the proceeding held on 8/23/2011 was filed on 8/24/2011 . The following deadlines apply:

    The parties have seven days to file with the court a Notice of Intent to Request Redaction of this transcript. The
deadline for filing a request for redaction is 9/14/2011 .

    If a request for redaction is filed, the redacted transcript is due 9/26/2011 .

     If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is 11/22/2011 unless extended by court order.

    To review the transcript for redaction purposes, you may purchase a copy from the transcriber (see docket for
Transcriber's information) or you may view the document at the clerk's office public terminal.




                                                                                Clerk of Court
Date: 8/24/11




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